CM/ECF-GA Northern District Court                                     https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?140572603071305...
                          Case 1:22-cr-00361-TCB Document 60 Filed 06/27/23 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                                   1:22-cr-00361-TCB
                                                    USA v. Wortham
                                             Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 06/27/2023.


              TIME COURT COMMENCED: 10:02 A.M.
              TIME COURT CONCLUDED: 10:42 A.M.                       COURT REPORTER: Denise Stewart
              TIME IN COURT: 00:40                                   DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         DEFENDANT(S):               [1]Kayricka Wortham Present at proceedings
         ATTORNEY(S)                Norman Barnett representing USA
         PRESENT:                   Stephen McClain representing USA
                                    Kayricka Wortham appearing Pro Se
                                    ** Nick Lotito appearing as stand-by counsel for Kayricka Wortham
         PROCEEDING
                                    Sentencing Hearing(Sentencing Hearing Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:               See judgment in criminal case.
         HEARING STATUS:            Hearing Concluded




1 of 1                                                                                                              6/27/2023, 10:48 AM
